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   United States of America
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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 1:20-MJ-00044-SAB
12                                 Plaintiff,             STIPULATION FOR EXTENSION OF TIME FOR
                                                          PRELIMINARY HEARING PURSUANT TO RULE
13                           v.                           5.1(d) AND EXCLUSION OF TIME
14   JOSE FIGUEROA &                                      DATE: March 25, 2020
     JOAQUIN VELASCO,                                     TIME: 2:00 p.m.
15                                                        COURT: Hon. Barbara A. McAuliffe
                                   Defendants.
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            Plaintiff United States of America, by and through its attorney of record, Assistant United States
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     Attorney ALEXANDRE DEMPSEY, and defendant JOSE FIGUEROA, both individually and by and
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     through his counsel of record, CHRISTINA CORCORAN, hereby stipulate as follows:
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            1.       The Complaint in this case was filed on March 11, 2020, and defendant first appeared
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     before a judicial officer of the Court in which the charges in this case were pending on March 11, 2020.
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     The court set a preliminary hearing date of March 25, 2020.
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            2.       By this stipulation, the parties jointly move for an extension of time of the preliminary
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     hearing date to April 9, 2020, at 2:00 p.m., before the duty Magistrate Judge, pursuant to Rule 5.1(d) of
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     the Federal Rules of Criminal Procedure. The parties stipulate that the delay is required to allow the
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     defense reasonable time for preparation, and for the government’s continuing investigation of the case.
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     The parties further agree that the interests of justice served by granting this continuance outweigh the
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                 Case 1:20-mj-00044-SAB Document 13 Filed 03/19/20 Page 2 of 4


 1 best interests of the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).

 2          3.       Pursuant to Federal Rule of Criminal Procedure 5.1(d), on March 17, 2020, Assistant

 3 Federal Defender Eric Kersten met with Mr. Figueroa, who consented to the extension of time.

 4          4.       The parties agree that good cause exists for the extension of time, and that the extension

 5 of time would not adversely affect the public interest in the prompt disposition of criminal cases.

 6 Therefore, the parties request that the time between March 25, 2020, and April 9, 2020, be excluded

 7 pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv), Local Code T-4.

 8          IT IS SO STIPULATED.

 9
     Dated: March 18, 2020                                    MCGREGOR W. SCOTT
10                                                            United States Attorney
11
                                                              /s/ ALEXANDRE DEMPSEY
12                                                            ALEXANDRE DEMPSEY
                                                              Assistant United States Attorney
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14
     Dated: March 18, 2020                                    /s/ CHRISTINA CORCORAN
15                                                            CHRISTINA CORCORAN
16                                                            Counsel for Defendant
                                                              JOSE FIGUEROA
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              Case 1:20-mj-00044-SAB Document 13 Filed 03/19/20 Page 3 of 4

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 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

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     UNITED STATES OF AMERICA,                            CASE NO. 1:20-MJ-00044-SAB
11
                                   Plaintiff,             ORDER EXTENDING TIME FOR PRELIMINARY
12                                                        HEARING PURSUANT TO RULE 5.1(d) AND
                            v.                            EXCLUDING TIME
13
     JOSE FIGUEROA &                                      DATE: March 25, 2020
14   JOAQUIN VELASCO,                                     TIME: 2:00 p.m.
                                                          COURT: Hon. Barbara A. McAuliffe
15                                Defendants.
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18          The Court has read and considered the Stipulation for Extension of Time for Preliminary Hearing

19 Pursuant to Rule 5.1(d) and Exclusion of Time, filed by the parties in this matter on March 18, 2020.

20 The Court hereby finds that the Stipulation, which this Court incorporates by reference into this Order,
21 demonstrates good cause for an extension of time for the preliminary hearing date pursuant to Rule

22 5.1(d) of the Federal Rules of Criminal Procedure.

23          Furthermore, for the reasons set forth in the parties’ stipulation, the Court finds that the interests

24 of justice served by granting this continuance outweigh the best interests of the public and the defendant

25 in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). The Court further finds that the extension of time would

26 not adversely affect the public interest in the prompt disposition of criminal cases.
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                Case 1:20-mj-00044-SAB Document 13 Filed 03/19/20 Page 4 of 4


 1         THEREFORE, FOR GOOD CAUSE SHOWN:

 2         1.       The date of the preliminary hearing is extended to April 9, 2020, at 2:00 p.m.

 3         2.       The time between March 25, 2020, and April 9, 2020, shall be excluded from calculation

 4 pursuant to 18 U.S.C. § 3161(h)(7)(A).

 5         3.       Defendants shall appear at that date and time before the Magistrate Judge on duty.

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     IT IS SO ORDERED.
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 8     Dated:      March 18, 2020                            /s/ Barbara A. McAuliffe                _
                                                       UNITED STATES MAGISTRATE JUDGE
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